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                  IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF WYOMING

ROBERT A. NAROTZKY, M.D., THOMAS A.                 )
KOPITNIK, JR., M.D., DEBRA STEELE, M.D.,            )
and CENTRAL WYOMING NEUROSURGERY,                   )
LLC,                                                )
                           Plaintiffs,              )
                                                    )
      v.                                            )   Civil No. 08-CV-027-B
                                                    )
BOARD OF TRUSTEES OF MEMORIAL                       )
HOSPITAL OF NATRONA COUNTY; WYOMING                 )
MEDICAL CENTER, INC., a Wyoming non-profit          )
corporation; BOARD OF DIRECTORS OF                  )
WYOMING MEDICAL CENTER, INC.; MIKE                  )
REID, in his official capacity as Chairman of the   )
Board of Directors of Wyoming Medical Center,       )
Inc., and in his personal capacity; PAM FULKS,      )
in her official capacity as President and Chief     )
Executive Officer of Wyoming Medical Center,        )
Inc., and in her personal capacity; VICKIE          )
DIAMOND, in her official capacity as Senior         )
Vice President and Chief Operating Officer of       )
Wyoming Medical Center, Inc., and in her            )
personal capacity; and MARY JANE O’CONNOR,          )
in her official capacity as Head of Perioperative   )
Services of Wyoming Medical Center, Inc., and       )
in her personal capacity,                           )
                                                    )
                                Defendants.         )
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    PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS REID’S
             AND FULKS’ MOTION FOR SUMMARY JUDGMENT


       COME NOW the Plaintiffs, by and through their attorneys, Speight,

McCue & Crank, P.C., and in response to Defendants Reid’s and Fulks’ Motion

for Summary Judgment state as follows:

                                    INTRODUCTION 1

       Defendants Mike Reid and Pam Fulks make three arguments in their

Memorandum in Support of Motion for Summary Judgment:

     I. Plaintiffs were not constructively discharged. Within this argument,
        Plaintiffs have two subparts:

              a. Plaintiffs’ Resignations were Voluntary; and

              b. Plaintiffs’ Working Conditions were Not Intolerable;

     II. Plaintiffs Were Not Deprived of a Liberty Interest in Their Reputation;
         and

    III. Defendant Reid and Fulks are Entitled to Qualified Immunity.

       For their Response to Defendants Reid and Fulks Argument I, Plaintiffs

rely on their Memorandum in Opposition to Defendants Wyoming Medical

Center’s and Vickie Diamond’s Motion for Summary Judgment. Arguments

concerning the issues raised by Reid and Fulks in Argument I are set forth on

pages 21-37 of Plaintiffs’ Memorandum in Opposition to Defendants Wyoming

1Plaintiffs hereby adopt and incorporate by reference the facts and arguments set forth in
Plaintiffs’ Memorandum in Opposition to Defendants Wyoming Medical Center’s and Vickie
Diamond’s Motion for Summary Judgment as if fully stated herein.
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Medical Center’s and Vickie Diamond’s Motion for Summary Judgment.

Defendants’ remaining arguments will be addressed in this brief.

                            STANDARD OF REVIEW

      Summary judgment is proper when there is no genuine issue of material

fact to be resolved at trial. F.R.Civ.P 56(c); Nebraska v. Wyoming, 507 U.S.

584, 590 (1993). Thus, a district court may grant summary judgment “if the

pleadings, depositions, answers to interrogatories, and admissions on file,

together with the affidavits, if any, show that there is no genuine issue of

material fact and that the moving party is entitled to a judgment as a matter of

law.” F.R.Civ.P 56(c); Nelson v. Geringer, 295 F.3d 1082, 1086 (10th Cir. 2002).

“An issue of material fact is genuine where a reasonable jury could return a

verdict for the party opposing summary judgment.” Seymore v. Shawyer &

Sons, Inc., 111 F.3d 794, 797 (10th Cir. 1997).

      In applying these standards, the district court will view the evidence in

the light most favorable to the party opposing the summary judgment. Jenkins

v. Wood, 81 F.3d 988, 990 (10th Cir. 1996). The movant bears the initial

burden of demonstrating the absence of evidence to support the non-moving

party’s claims. Celotex Corp. v. Catreett, 477 U.S. 317, 325 (1986). When the

non-moving party bears burden of proof at trial, the burden then shifts to it to

demonstrate the existence of an essential element of its case. Id. To carry this

burden, the non-moving party must go beyond the pleadings and designate

specific facts to show there is a genuine issue for trial. Anderson v. Liberty
                                        -3-
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Lobby, Inc., 477 U.S. 242, 251 (1986); Ford v. West, 222 F.3d 767, 774 (10th

Cir. 2000).

      After a government official defendant asserts a qualified immunity

defense to shield themselves from liability in their individual capacity, the

burden shifts to the plaintiff to: 1) establish that the defendants’ discretionary

actions violated a constitutional or statutory right; and 2) that the

constitutional right was established at the time of the violation such that a

reasonable person in the defendants’ position would know that his conduct

violated that right. Hesse v. Town of Jackson, Wyo., 541 F.3d 1240,

1244 (10th Cir. 2008) (citing Holland ex rel. Overdorff v. Harrington, 268 F.3d

1179, 1185 (10th Cir. 2001); Graves v. Thomas, 450 F.3d 1215, 1218 (10th Cir.

2006); Pearson v. Callahan, 129 S.Ct. 808, 818 (2009). Once the plaintiff meets

their burden of proving a clearly established constitutional right and conduct

by the Defendants which violates that right, Defendants then have the burden

to show that no material facts are in dispute which would defeat the claim of

qualified immunity. Parker v. Board of Regents of Tulsa Jr. College, 981 F.2d

1159, 1161 (10th Cir. 1992).

      “Constructive discharge occurs when an employer unlawfully creates

‘working conditions so intolerable that a reasonable person in the employee's

position would feel forced to resign.’” Strickland v. United Parcel Service, Inc.,

555 F.3d 1224, 1228 (10th Cir. 2009) (citing Fischer v. Forestwood Co., 525

F.3d 972, 980 (10th Cir.2008). The employer's subjective intent in creating the
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constructive discharge and the employee's subjective views on the constructive

discharge are irrelevant. Id.

      Whether a constructive discharge occurred is a question of fact. Id. (“The

existence of constructive discharge is an issue of fact to be resolved by the jury,

and judgment as a matter of law is only appropriate if the evidence is

susceptible to but one interpretation.”) Whether the working conditions for

Plaintiffs at WMC were objectively intolerable is a question of fact for a jury if

Plaintiffs provide sufficient evidence to support a finding of constructive

discharge. Strickland, 555 F.3d at 1229; Arnold v. McClain, 926 F.2d 963, 966

(10th Cir. 1991).

                                   DISCUSSION

      The deposition of Elise Brennan, WMC Medical Staff attorney, for

approximately the last ten years, and the Defendants’ designated expert with

regard to the operation of the WMC Medical Staff By-Laws, conclusively

establishes that Mike Reid and Pam Fulks are not entitled to qualified

immunity. Elise Brennan has testifies that the WMC Board of Directors “has

the ultimate responsibility for everything going on and has an obligation to

ensure that all committees are doing what they need to do…” Appendix 15,

Brennan 4/8/09 Deposition, pp. 207-208.

      When questioned about Mike Reid in particular regarding his role in the

Kopitnik peer review as Chairman of the Board of Directors, Ms. Brennan

stated:
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            [Mike Reid] may say he’s not involved in it from his
            perspective, that doesn’t mean the board is not
            ultimately responsible, because the board is ultimately
            responsible, he may just not be involved in a way that
            makes him think he’s involved, but they have ultimate
            responsibility for everything that happens in the
            hospital.

Id. at 208-09 (emphasis added). It follows that if the Board of Directors is

responsible for everything that happens at WMC, that the Chairman of the

Board of Directors is likewise responsible for the actions of WMC and those

employees of WMC, including Defendants Fulks, Diamond, and O’Connor who

have been delegated policymaking and decisional authority. See for example

Milligan-Hitt v. Board of Trustees of Sheridan County School Dist. No. 2, 523

F.3d 1219 (10th Cir. 2008); Appendix 18, Diamond 9/9/08 Deposition, pp. 16

& 26-31.

      Pam Fulks in her deposition has admitted that as President and CEO,

she had overall responsibility for all operations of WMC. Appendix 20, Fulks

9/15/08 Deposition, p. 76. Fulks admitted she was in charge of every

employee of WMC. Id. Fulks testified that Vicki Diamond, as the Chief

Operating Officer of WMC, had overall control of day-to-day operations of WMC

along with Fulks. Id. Fulks served at the pleasure of the WMC Board of

Directors. Id.

      Fulks cannot claim that she had no involvement in the decisions that led

to the intolerable working environment for Plaintiffs. Working directly for the

Board, Fulks had been delegated all day-to-day operational decisions as well as
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strategic planning for the hospital and is accordingly liable for the acts of other

policymaking and decisional employees including Diamond and O’Connor. See

for example Milligan-Hitt, 523 F.3d 1219; Appendix 18, Diamond 9/3/08

Deposition, pp. 16 & 26-31.

       In addition, Mike Reid and Pam Fulks were, in large part, the instigators

of the actions that led to the horribly intolerable working environment for

Plaintiffs.

                                  QUALIFIED IMMUNITY

       Defendants Reid and Fulks further claim that they are shielded by

qualified immunity from liability in their individual capacities 2 for those

discretionary actions which gave rise to the constructive discharge of Plaintiffs

in violation of the Due Process Clause of the Fourteenth Amendment. (Reid &

Fulks Memo on SJ, p. 23). To defeat a defense of qualified immunity, Plaintiffs

must: 1) establish that the defendants’ discretionary actions violated a

constitutional or statutory right; and 2) that the constitutional right was

established at the time of the violation such that a reasonable person in the

defendants’ position would know that his conduct violated that right. Hesse,

541 F.3d at 1244; Graves, 450 F.3d at 1218.




2 Reid & Fulks cannot claim qualified immunity with regard to their “official capacity” status.
Official capacity suits are treated as suits against the governmental entities themselves. Elder-
Keep v. Aksamit, 460 F.3d 979, 988 (8th Cir. 2006). Governmental entities such as
municipalities or counties are not entitled to qualified immunity. Owen v. City of
Independence, 445 U.S. 622 (1980).
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      First, as Defendants concede, it was clearly established as of November

17, 2005 that a constructive discharge from a position in which a person has a

protectable property interest may be actionable under 42 USC § 1983. (Reid &

Fulks Memo, p.23). Plaintiffs have established that they had a constitutionally

protected property interest in their medical staff privileges at WMC as of

November 17, 2005 and that they were constructively discharged by the

actions of Reid and Fulks, and the other Defendants, in violation of the Due

Process Clause of the Fourteenth Amendment. Plaintiffs’ Memorandum in

Opposition to Defendants Wyoming Medical Center’s and Vickie Diamond’s

Motion for Summary Judgment, pp. 11-21; Hesse, 541 F.3d at 1244; Pearson,

129 S.Ct. at 818. It was also clearly established by November 17, 2005 that “a

person with authority or responsibility for working conditions can be held liable

for constructive discharge in violation of the Due Process Clause of the

Fourteenth Amendment.” Woodward v. City of Worland, 977 F.2d 1392, 1402-

03 (10th Cir. 1992). As specifically argued in Plaintiffs’ Memorandum in

Opposition to Defendants Wyoming Medical Center’s and Vickie Diamond’s

Motion for Summary Judgment, an independent contractor, like a physician at

WMC, can be constructively discharged from their privileges. See Id. at pp. 23-

26. This law was clearly established in the Tenth Circuit as of 1995 when the

Umbehr case was decided. Umbehr v. McClure, 44 F.3d 876 (10th Cir. 1995)

(aff’d by Board of County Com'rs, Wabaunsee County, Kan. v. Umbehr, 518 U.S.

668, 116 S.Ct. 2342 (1996)).
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      Defendants Reid and Fulks certainly knew that their actions violated

Plaintiffs’ constitutional rights as guaranteed by the Due Process Clause of the

Fourteenth Amendment. Graves, 450 F.3d at 1218. The WMC By-Laws

provided throughout calendar years 2004 – 2005 that a physician with medical

staff privileges at WMC could only have his privileges terminated for cause and

after he was afforded due process. See Plaintiffs’ Memorandum in Opposition

to Defendants Wyoming Medical Center’s and Vickie Diamond’s Motion for

Summary Judgment, pp. 11-20; Appendix 52, Deposition Exhibit 45,

Appendix 15, Brennan 4/8/09 Deposition, pp. 78-79. The creation of the

intolerable working environment at WMC in an attempt to force the Plaintiffs to

resign their privileges is an implicit admission that the Plaintiffs’ privileges

could not be taken away without just cause and due process. As the Chairman

of the Board of Directors of WMC, and CEO of WMC, respectively, Defendants

Reid and Fulks knew or should have known that their actions, as more fully

discussed below, would constructively discharge Plaintiffs without cause and

without affording Plaintiffs due process under the WMC Medical Staff By-Laws,

in violation of the Due Process Clause of the Fourteenth Amendment. A

reasonable administrator or Board member in Fulks’ or Reid’s position would

have clearly understood that they cannot force a physician to resign their

medical staff privileges by creating a hostile and intolerable working

environment.



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      As more fully explained in Plaintiffs’ Memorandum in Opposition to

Defendants Wyoming Medical Center’s and Vickie Diamond’s Motion for

Summary Judgment, Defendant Mike Reid’s conduct that led to the

constructive discharge of Plaintiffs includes, at a minimum:

         1. The decision to terminate the OR contract in violation
            of WMC By-Laws as punishment for Dr. Kopitnik
            questioning patient care at WMC during a meeting
            with the Editorial Board of the Casper Star-Tribune.
            Plaintiffs’ Memorandum in Opposition to Defendants
            Wyoming Medical Center’s and Vickie Diamond’s
            Motion for Summary Judgment, pp. 52-56;

         2. The implementation of the Economic Conflict of
            Interest Policy, which violates WMC Medical Staff By-
            Law § 6.1, and was specifically targeted against
            Plaintiffs. Id. at pp. 56-59; Confidential Appendix 6,
            Deposition Exhibit 134;

         3. Interference in the Peer Review process in violation of
            WMC By-Laws. Id. at pp. 38-52; Appendix 62,
            Deposition Exhibit 121;

         4. The unilateral determination to conclude the Peer
            Review proceedings into the March 23, 2004 surgeries
            in violation of WMC By-Laws and Medical Staff By-
            Laws. Id.;

         5. The failure to negotiate with Plaintiffs in good faith on
            issues critical to Plaintiffs’ medical staff privileges.
            These actions include stating “F*** it, I don't have to
            sit here and take this, we are done …” at Doctors
            Narotzky and Kopitnik and leaving a meeting with the
            two surgeons. Id. at pp. 8-10; Appendix 43,
            Deposition Exhibit 21;

         6. Advocating for the immediate suspension of Plaintiffs’
            medical staff privileges on October 19, 2005 and
            urging the WMC Board of Directors to stand together


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              and tell the Plaintiffs “to go to hell”. Id.; Appendix 51,
              Deposition Exhibit 42;

           7. Removal of critical operating resources from Plaintiffs
              and authorizing the use of incompetent and under-
              trained “travelers” to replace CWN’s highly trained and
              competent OR team, Id. at pp. 52-56;

           8. Appointment of a mediation team on October 27, 2005
              which included conflicted and biased members.
              Appendix 20, Fulks 09/15/08 deposition, pp. 160-
              163; 3

           9. Participating in a plan to illegally tape record and
              videotape the Plaintiffs and their staff while they were
              conducting surgeries at WMC. Id. at pp. 8-9.
              Appendix 60, Deposition Exhibit 93;

           10. Directing WMC staff to report the alleged theft of
               neurosurgery equipment to the Casper Police
               Department. Id. at pp. 59-68; and

           11. A total and abject failure to require WMC
               Administrators or Medical Staff, despite actual
               knowledge of significant bias and prejudice against
               Plaintiffs, to comply with state and federal laws and
               the WMC Medical Staff Bylaws.

       As more fully explained and laid out in Plaintiffs’ Memorandum in

Opposition to Defendants Wyoming Medical Center and Vickie Diamond’s




3 In their Motion in Support of Summary Judgment, Defendants Reid and Fulks state that their
actions which led to the constructive discharge of Plaintiffs were conducted in furtherance of
the management and operation of a hospital, and should therefore be accorded deference by
the Court. See Reid & Fulk Memo in Support, p. 24 (citing Ripley v. Wyoming Med. Ctr., ---
F.3d--, 2009 WL 652029, *3-4(10th Cir. 2009). Of course, deference should only be given to a
hospital Board’s decisions that are not “arbitrary, capricious or discriminatory.” Id. Plaintiffs
have established that the actions of Defendants Reid and Fulks, as well as the other
Defendants, were arbitrary, capricious, discriminatory, and illegal and therefore this Court
should accord no deference to the decisions of the WMC Board of Directors as they relate to
Plaintiffs.
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Motion for Summary Judgment, Defendant Pam Fulks’ conduct that led to the

constructive discharge of Plaintiffs includes, at a minimum:

         1. Directing Dr. Mary MacGuire to investigate the
            circumstances of the surgeries performed by Dr.
            Kopitnik on March 23, 2004 in violation of WMC By-
            Laws. See Plaintiffs’ Memorandum in Opposition to
            Defendants Wyoming Medical Center’s and Vickie
            Diamond’s Motion for Summary Judgment at pp. 38-
            52; Appendix 20, Fulks 9/15/08 Deposition, pp. 26-
            29;

         2. Taking no action to investigate who was leaking Peer
            Review information to the general public and the news
            media in Casper, in violation of the WMC By-Laws,
            Wyoming. Id.; Appendix 20, Fulks 9/15/08
            Deposition, p. 59;

         3. Interference in the Peer Review process in violation of
            WMC By-Laws. Id.; Appendix 52, Deposition Exhibit
            45;

         4. The recruiting of other neurosurgeons to perform
            surgery at WMC, including Joe Sramek and lying to
            Dr. Narotzky when confronted with WMC’s recruitment
            activities. Id. at pp. 50-51; Appendix 108, Kopitnik-
            WMC Subpoena 1062, Appendix 56, Deposition
            Exhibit 59;

         5. The decision to not renew the OR contract in violation
            of WMC By-Laws as punishment for Dr. Kopitnik
            questioning patient care at WMC during a meeting
            with the Editorial Board of the Casper Star-Tribune.
            Id. at pp. 52-56; Appendix 81, Deposition Exhibit 316;

         6. Deciding to wire the CWN Operating Rooms to monitor
            conversations between Plaintiffs and their staff. Id. at
            pp. 8-9; Appendix 60, Deposition Exhibit 93;

         7. Authorizing Defendant O’Connor to contact the Casper
            Police Department with false theft allegations directed
            toward Dr. Kopitnik and CWN staff. Id. at pp. 59-68;
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            Appendix 21, Fulks 11/17/08 Deposition, pp. 18-21;
            Appendix 18, Diamond 9/3/08 Deposition, pp. 246-
            256;

         8. Authorizing the illegal, warrantless locker search. Id.
            at pp. 63-69; Appendix 21, Fulks 11/17/08
            Deposition, p. 22-23; and

         9. A total and abject failure to require WMC
            Administrators or Medical Staff, despite actual
            knowledge of significant bias and prejudice against
            Plaintiffs, to comply with state and federal laws and
            the WMC Medical Staff Bylaws.

Considering the aforementioned actions of Defendants Reid and Fulks, and

looking at the totality of the circumstances at WMC in October and November

of 2005, Defendants, individually and collectively, were responsible for the

constructive discharge of Plaintiffs from their constitutionally protected medical

staff privileges at WMC.

                              LIBERTY INTEREST

      Dr. Kopitnik was repeatedly slandered and defamed during 2004 and

2005 by WMC. These defamatory statements were part and parcel of the

hostile and intolerable work environment created and maintained by WMC and

the individual Defendants.

      The defamatory and libelous statements include two anonymous

mailings, both of which were distributed via the WMC Medical Staff mail boxes

at WMC. (Appendix 20, Fulks 9/15/08 Deposition, pp. 57-60) One

anonymous mailing, which was obviously written by some member of the Peer

Review Committee because the letter contains information that should have
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only been known to Peer Review Committee members accuses Dr. Kopitnik of

Medicare fraud. (Appendix 55, Deposition Exhibit 49) The note was

apparently sent to the Casper Star Tribune and the U.S. Office of the Inspector

General and was signed “Troubled Patient Care Provider in Casper, Wyoming.”

The other note stated, “Good luck bullying your way out of this one, you prick.

What goes around, comes around. It will be splendid news to read about you

in the newspaper, and oh my, with the OIG.” (Appendix 54, Deposition

Exhibit 48)

      In addition, as set forth in the Affidavit of Brad Wnuk, prior to 7:30 a.m.

on November 1, 2005, the date after WMC reported the alleged theft of

neurosurgery equipment at 5:47 p.m. on October 31, 2005, to the Casper

Police Department, Officer Wnuk received a call from a Casper Star Tribune

reporter inquiring whether the Casper Police Department was executing, or had

executed, a search warrant for the stolen neurosurgery equipment. (Appendix

12, Wnuk Affidavit)

      Last, but certainly not least, in early 2005, Mary MacGuire, the

Chairman of the Department of Surgery and Dr. Kopitnik’s chief persecutor

during the sham and biased peer review conducted with regard to Dr. Kopitnik,

informed Dr. Steven Beer, a Cheyenne neurosurgeon, that “the members of the

peer review committee would never consent to allow Dr. Kopitnik to do surgery

on members of their family.” Dr. Scaling, the Chairman of the Peer Review



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Committee, has said that this statement is false. (See Appendix 8, Scaling

Affidavit 10/5/07, ¶4)

       Unfortunately, the Tenth Circuit has adopted such a stringent test to

establish the violation of a liberty interest in one’s reputation that only the

report of the false theft allegations to the Casper Star Tribune may be

actionable. In order to give rise to an actionable liberty interest claim, the

Plaintiffs must establish: (1) that statements made by the Defendants

impugned their good name, reputation, honor or integrity; (2) that the

statements were false; (3) that the statements occurred in the course of

terminating the employee or foreclosed other employment opportunities; 4 and

(4) that the statements were published. Lighton v. Univ. of Utah, 209 F.3d

1213, 1223 (10th Cir. 2000). All four elements must be satisfied to

demonstrate a deprivation of Plaintiffs’ liberty interests. Id.

       There is no doubt that some insider at WMC reported to the Casper Star

Tribune sometime after 5:47 p.m. on October 31, 2005, and 7:30 a.m. on

November 1, 2005, that staff and/or physicians of CWN stole neurosurgery

equipment from WMC. Based on discovery to date, only a handful of WMC

employees or board members, including Reid, Fulks, Diamond and O’Connor,

even knew about the alleged thefts. The statement was patently false and

certainly occurred during the course of terminating Dr. Kopitnik via his

4Recent Tenth Circuit cases suggest that this third factor should be composed in the
conjunctive, rather than the disjunctive. See Renaud v. Wyoming Dept. of Family Serv., 203
F.3d 723, 728 n.1 (10th Cir. 2000); Darr v. Town of Telluride, 495 F.3d 1243, 1255 (10th Cir.
2007)
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constructive discharge from WMC. The statements were ultimately published

in the Casper Star Tribune and certainly impugned the reputation of Dr.

Kopitnik, CWN and CWN staff. The wild circulating rumors actually caused

Detective Tim Weinhandl to attend a medical staff meeting to specifically tell

the medical staff that Dr. Kopitnik’s arrest was not imminent and was not

being contemplated by the Casper Police Department. (See Appendix 65,

Deposition Exhibit 152 at CWN 3695) There are certainly materially disputed

facts on these elements that would preclude summary judgment.

      All elements can be established but for showing that the Defendants’

“statements . . . foreclosed other employment opportunities.” Despite the

incredible stigma and profession harm to CWN and Dr. Kopitnik’s professional

reputation, Dr. Kopitnik cannot point to a specific job lost based on WMC’s

willful conduct. Considering the Tenth Circuit’s recent dicta that the

statements must have both foreclosed other employment opportunities and

have been made in the course of the employee’s termination, see Footnote 1,

supra, it appears that the Court has no choice but to grant the Defendants’

request for summary judgment with regard to the Liberty Interest alleged in

Plaintiffs’ Complaint.

                                  CONCLUSION

      Defendants Reid and Fulks are liable for the constructive discharge of

Plaintiffs’ from their protected property interest in their medical staff privileges

at WMC in violation of the Due Process Clause of the Fourteenth Amendment.
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Reid and Fulks had responsibility and authority for the work environment at

WMC whereby they were able to create a hostile work environment for Plaintiffs

that led to Plaintiffs’ constructive discharge from WMC on November 17, 2005.

Defendants are not shielded from liability for their actions that constructively

discharged Plaintiffs from WMC through the defense of qualified immunity. As

of November 17, 2005, Defendants Reid and Fulks knew, or should have

known that their actions would result in the constructive discharge of Plaintiffs

in violation of the Due Process Clause of the Fourteenth Amendment.

      DATED this 13th day of April, 2009.

                                      SPEIGHT, McCUE & CRANK, P.C.



                                      By:       /s/ Patrick J. Crank
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                          CERTIFICATE OF SERVICE


      This is to certify that on the 13th day of April, 2009, a true and correct
copy of the foregoing was served upon counsel as follows:

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